              Case: 14-2058                  Document: 1-3   Filed: 05/12/2014     Pages: 1



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
             Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                         NOTICE OF DOCKETING - Short Form
 May 12, 2014


 To:         Jon W. Sanfilippo
             District/Bankruptcy Clerk

 The below captioned appeal has been docketed in the United States Court of Appeals for the
 Seventh Circuit:

                    Appellate Case No: 14-2058

                    Caption:
                    RUTHELLE FRANK, et al.,
                    Plaintiffs - Appellees

                    v.

                    SCOTT WALKER, in his official capacity as Governor of State of
                    Wisconsin, et al.,
                    Defendants - Appellants


                    District Court No: 2:11-cv-01128-LA
                    District Judge Lynn Adelman
                    Clerk/Agency Rep Jon Sanfilippo

                    Date NOA filed in District Court: 05/12/2014


 If you have any questions regarding this appeal, please call this office.



 form name: c7_Docket_Notice_short_form(form ID: 188)




              Case 2:11-cv-01128-jdp Filed 05/12/14 Page 1 of 1 Document 205
